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                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007

                                                     October 30, 2020
BY ECF
The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits this letter in response to the defense letter dated
October 23, 2020 in the above-referenced case (the “Defense Letter”). For all of its innuendo and
accusations, the Defense Letter is at base an effort to preview again motions that the Court has
already found to be premature, and to cast the Government’s efforts to be transparent with the
Court and the defense in a nefarious and deeply misleading light. The Government writes to
correct the inaccuracies in the Defense Letter, to update the Court regarding the status of the
Government’s ongoing discovery productions, and to address the defense complaints regarding
the Metropolitan Detention Center (“MDC”).

    1. The Government Has and Will Continue to Satisfy Its Discovery Obligations

        The Defense Letter raises numerous accusations, including that the Government has
“abandon[ed]” the discovery deadlines in this case. (Def. Ltr. 1). The Government strongly
disagrees, and notes that it has produced considerable Rule 16 discovery to the defense, which, to
date, consists of more than 350,000 pages. Contrary to the defense’s assertions, that discovery
does include both “[c]orroborating [i]nformation” regarding the conduct charged in this case as
well as potentially “[e]xculpatory [e]vidence,” (Def. Ltr. 3), and the Government remains available
to discuss that material with defense counsel. Moreover, in anticipation of the November 9, 2020
discovery deadline, the Government is preparing to make additional productions, including a
production of electronic discovery, which will consist of over 1.2 million documents from devices
seized from Jeffrey Epstein’s residences.1 In that regard, the Government is currently waiting on



1
  Despite the defense’s insinuations to the contrary, this is entirely consistent with the schedule
ordered by the Court. Specifically, the Court ordered the Government to produce “[i]nitial non-
electronic discovery, generally to include search warrant applications and subpoena returns” by
August 21, 2020, and the Government made three productions containing those materials, and
more, by August 21, 2020. (Order dated July 15, 2020, Dkt. No. 25). It is the Government’s
expectation that its upcoming productions will substantially complete its production of Rule 16
discovery. As is not uncommon in a case of this magnitude, however, it is possible that the
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its outside vendor to image, stamp, and download that electronic discovery, which the Government
finished preparing for production last week, from an electronic database. The volume of that
production is large and takes significant time for the vendor to prepare. It is therefore possible that
the vendor may need a limited amount of additional time to complete that process. That said, the
Government has repeatedly informed the vendor of the November 9, 2020 deadline, and the vendor
is making every effort to meet it. The Government expects an update from the vendor early next
week and will promptly alert the Court and the defense if it appears the vendor will need additional
time beyond November 9 to finalize this production. But contrary to the defense’s suggestion, the
Government has made numerous productions consistent with the discovery schedule in this case
and is working diligently to continue to meet the discovery deadlines in this case.

        With respect to the defense’s other claims and accusations, the Government is prepared to
respond in detail at the appropriate stage. But in short, many of the defense’s accusations about
the Government’s allegedly deficient productions are not only factually or legally incorrect, but
also include complaints that the Court has already directed the defense to renew only if unable to
reach agreement with the Government “[f]ollowing the close of discovery,” which has not yet
occurred. (Order dated Aug. 25, 2020, Dkt. 49, at 2). Others turn on the defense’s baseless
attempts to redefine classic Giglio or Jencks Act material as Rule 16 discovery, or on a faulty
definition of exculpatory material that has no basis in law. (See Gov. Ltr. dated Aug. 13, 2020,
Dtk. No. 41, at 2-3 (noting law supporting delay of production of witness list until shortly before
trial); Gov. Ltr. dated Oct. 7, 2020, Dkt. No. 63, at 2 (noting that Rule 16 does not require
production of witness statements or Giglio); Gov. Ltr. dated Oct. 20, 2020, Dkt. No. 65, at 1-2
(noting well-established law in this Circuit precluding defense from offering evidence that a
defendant did not participate in criminal conduct on a different occasion than that charged by the
Government)).2

         With respect to the Government’s October 7 letter regarding other agency files, the
defense’s claims that the Government has “minimize[d]” what it promised and “redefine[d] who
it believes is part of the Prosecution Team” are deeply misleading.3 (Def. Ltr. 4). To be clear, the
Government has always viewed FBI files from both the prior Florida investigation and the more


Government may identify additional discoverable materials after the deadline. Should that happen,
the Government will promptly produce such materials to the defense.
   2
      In addition to repeating previously made arguments, the defense now contends that evidence
about the “genesis” of the non-prosecution agreement between the United States Attorney’s Office
for the Southern District of Florida and Jeffrey Epstein, is exculpatory. (Def. Ltr. 4). The defense
makes this assertion despite the fact that neither this Office nor the defendant were party to that
agreement, the agreement covered conduct spanning a different period of time than that charged
in this case, and the agreement does not mention the defendant by name. To the extent the defense
nevertheless believes it is entitled to those materials, the appropriate forum to raise those
arguments is on the pretrial motion schedule established by the Court.
   3
      It bears mention that at no point did the defense seek to confer with the Government regarding
any concerns about the Government’s October 7 letter or the Government’s planned productions
prior to filing the Defense Letter with the Court.
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recent New York investigation as part of the Prosecution Team’s files, and stated as much at the
initial pretrial conference and in its October 7, 2020 letter. 4 Because the Palm Beach Police
Department files were incorporated into the Florida FBI files and were so at the time of charging,
they are also part of the Prosecution Team’s files. Thus, far from trying to “distance itself from
its own files” (Def. Ltr. 5), the Government has thoroughly reviewed those files for Rule 16
material and potential Brady material, has made discovery productions from those files beginning
in August through this month, and is continuing to make productions from those files.

        By contrast, and as explained more fully in the Government’s October 7 letter, this
Prosecution Team—which played no role in the Florida Investigation—had not, prior to August
2020, received the materials identified in that letter from other prosecutor’s offices. The
Government has now obtained those materials not because they constitute Rule 16 discovery, but
rather because the Government is prepared to go above and beyond its obligations in an effort to
identify any arguable 3500 or Giglio material for Government witnesses in this case, or any Brady
material held in the files of those other offices. The Government is in the process of reviewing
those materials, as set forth in its October 7 letter, and to the extent the Government identifies
material within those files that constitutes Giglio or Jencks Act material, it will produce any such
material in advance of trial consistent with any agreed upon or ordered schedule for pretrial
disclosures. If the Government identifies potential Brady material within those files, the
Government will promptly produce it to the defense.

         In sum, through its October 7 letter, the Government sought to be transparent about the
files it has been collecting and reviewing from other offices for disclosures in this case. The
Government fully intends to discharge its obligations carefully, thoughtfully, and thoroughly, and
will continue to make itself available to confer with defense counsel regarding discovery.

   2. The Government Has Made Considerable Efforts to Address Concerns and
      Complaints Raised by Defense Counsel Regarding the MDC

         The Defense Letter raises two complaints that the Government has gone to significant
lengths to address over the past several weeks. First, the defense complains about technical issues
the defendant has experienced in reviewing discovery at the MDC. (Def. Ltr. 6-7). The
Government has worked expeditiously and continuously to provide the defendant with discovery
that is reviewable at MDC. In that vein, the Government has repeatedly spoken with MDC legal
counsel regarding these issues, and is continuing to work with MDC legal counsel and its own IT
staff to ensure that the defendant is able to review all of her discovery, including the subset of files

   4
       The suggestion to the contrary in the first sentence of the Defense Letter is similarly
misleading. (Def. Ltr. 1). At the initial conference, the Government explained that discovery in
this case would come, in part, from “prior investigative files from another investigation in the
Southern District of Florida,” (July 14, 2020 Tr. at 12), and Government counsel clarified, “the
files in particular that I am referring to are the files in the possession of the F.B.I. in Florida in
connection with the previous investigation of Jeffrey Epstein.” (Id. at 14). Consistent with that
representation, the Government’s October 7, 2020 letter noted that the Prosecution Team has
reviewed and made discovery productions from those same Florida FBI files. (Dkt. 63 at 5, 6).
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that the defendant has had difficulty opening on the MDC computer system.5 Because those efforts
are already underway and remain ongoing, there is no need for an order directing them.

        Second, the Defense Letter complains about issues within the MDC that are not in the
Government’s control, but that the Government has nevertheless spent significant time addressing
at the defense’s behest. (Def. Ltr. 6-7). MDC legal counsel has informed the Government that
MDC staff has been instructed to allow defense counsel to pass papers to their client for her to
review during visits. Accordingly, there is no need for an order to address this issue. MDC legal
counsel also noted that the table in the attorney visiting room is equipped with a Plexiglas barrier
down the middle to prevent the spread of COVID-19. Attorneys and clients are required to sit on
opposite sides of that barrier for their health and safety, but they can position any laptop they may
be reviewing in such a way that both the client and attorneys can view it while remaining on
opposite sides of the table. Finally, the Government understands from MDC legal counsel that the
defendant has access to her discovery for approximately 13 hours per day and therefore receives
more time to review her discovery than any other inmate in the MDC.
                                          * * *
       The Government is working expeditiously to meet its obligations and discovery deadlines,
which it takes very seriously. The Government’s primary objective, of course, is to finalize the
production of discovery as quickly as possible, while also ensuring that its productions are
complete. At any point, should the defense have questions or concerns about the discovery, the
Government has been and remains available to discuss any such issues directly with counsel.
                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney


                                              By:
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Cc: All Counsel of Record (By ECF)


5
  It is not clear to the Government what documents the defendant is unable to view at this point,
but to be clear, the technical issues have, at their worst, impacted the defendant’s ability to view
only a subset of the hundreds of thousands of pages produced to her. The defense has previously
provided the Government with lists of documents that the defendant could not open. In response,
the Government has sent the defendant replacement productions with reformatted versions of each
identified document after consulting with MDC staff to ensure that the files would be viewable on
the MDC computer system. Yesterday, defense counsel informed the Government that the
defendant still cannot view certain files, but the defense has not identified all of the specific
unreviewable documents. In any event, the Government will continue to work with the defense
and the MDC to ensure that the defendant can review all discovery.
